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                                                  CORRECTED




     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-173V
                                          UNPUBLISHED


    JEFFREY HORNING,                                            Chief Special Master Corcoran

                         Petitioner,                            Filed: February 2, 2022
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Tetanus
    HUMAN SERVICES,                                             Diphtheria acellular Pertussis (Tdap)
                                                                Vaccine; Shoulder Injury Related to
                         Respondent.                            Vaccine Administration (SIRVA)


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Alexis B. Babcock, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION 1

       On February 20, 2020, Jeffrey Horning filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine
administration (“SIRVA”) caused by a tetanus, diphtheria, acellular pertussis (“Tdap”)
vaccine administered on June 27, 2017. Petition at 1; Stipulation, filed at February 1,
2022, ¶¶ 1, 2. Petitioner further alleges that the vaccine was administered within the
United States, that he suffered the residual effects of his injury for more than six months,
and that there has been no prior award or settlement of a civil action for damages on his
behalf as a result of his condition. Petition at 3-4; Stipulation at ¶¶ 3-5. Respondent denies
that the Tdap vaccine caused Petitioner to suffer a left shoulder injury, brain fog, or any
other injury, and denies that Petitioner sustained a SIRVA Table Injury.” Stipulation at ¶
6.
1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Nevertheless, on February 1, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

            •   A lump sum of $15,000.00 in the form of a check payable to Petitioner.
                Stipulation at ¶ 8.

            •   A lump sum of $2,500.00 3 representing reimbursement of a Medicaid
                lien for services rendered to petitioner by the Commonwealth of
                Pennsylvania, in the form of a check payable jointly to petitioner and the
                Pennsylvania Department of Human Services and mailed to:

                                 Pennsylvania Department of Human Services
                                                  Attn: Kyle Petris
                                           Bureau of Program Integrity
                                Division of Third Party Liability, Recovery Section
                                                  P.O. Box 5486
                                            Harrisburg, PA 17105-8486
                                                Case# 340388579

Petitioner agrees to endorse this check to the Department of Human Services. Stipulation
at ¶ 8. These amounts represents compensation for all damages that would be available
under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision. 4

       IT IS SO ORDERED.

                                                                  s/Brian H. Corcoran
                                                                  Brian H. Corcoran
                                                                  Chief Special Master




3
 This amount represents full satisfaction of any right of subrogation, assignment, claim, lien, or
cause of action the Commonwealth of Pennsylvania may have against any individual as a result
of any Medicaid payments the Pennsylvania Program has made to or on behalf of Jeffry Homing
as a result of his alleged vaccine-related injury suffered on or about June 27, 2017, under Title
XIX of the Social Security Act, see 42 U.S.C. § 300aa-15(g), (h).
4
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS


JEFFREY HORNING,

               Petitioner,

V.                                                     No. 20-173V
                                                       Chief Special Master Corcoran
SECRETARY OF HEALTH AND                                ECF
HUMAN SERVICES,

               Respondent.


                                         STIPULATION

       The parties hereby stipulate to the following matters:

       1. Jeffrey Homing, petitioner, filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. § § 300aa-10 to -34 (the "Vaccine

Program"). The petition seeks compensation for injuries allegedly related to petitioner's receipt

of the tetanus, diphtheria, acellular pertussis ("Tdap'') vaccine, which is a vaccine contained in

the Vaccine Injury Table (the "Table"), 42 C.F.R. § 100.3 (a).

       2. Petitioner received a Tdap vaccine on or about June 2 7, 2017.

       3. The vaccination was administered within the United States.

       4. Petitioner alleges that he sustained a left shoulder injury related to vaccination

administration ("SIRVA") and "brain fog" following receipt of the Tdap vaccine, within the

Table time period, and suffered the residual effects of this alleged injury for more than six

months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on his behalf as a result of his condition.
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       6. Respondent denies that the Tdap vaccine caused petitioner to suffer a left shoulder

injury, brain fog, or any other injury, and denies that petitioner sustained a SIRVA Table Injury.

       7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

       8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21(a)(l), the Secretary of Health and Human Services will issue

the following vaccine compensation payments:

       a.        A lump sum of $15,000.00 in the form of a check payable to petitioner;
                 and

       b.        A lump sum of $2,500.00 1 representing reimbursement of a Medicaid lien for
                 services rendered to petitioner by the Commonwealth of Pennsylvania, in the
                 form of a check payable jointly to petitioner and the Pennsylvania Department of
                 Human Services and mailed to:

                          Pennsylvania Department of Human Services
                                         Attn : Kyle Petris
                                   Bureau of Program Integrity
                        Division of Third Party Liability, Recovery Section
                                          P.O. Box 5486
                                   Harrisburg, PA 17105-8486
                                        Case# 340388579

                 Petitioner agrees to endorse this check to the Department of Human Services.

These amounts represent compensation for all damages that would be available under 42 U.S.C.

§ 300aa-15(a).



1
 This amount represents full satisfaction of any right of subrogation, assignment, claim, lien, or
cause of action the Commonwealth of Pennsylvania may have against any individual as a result
of any Medicaid payments the Pennsylvania Program has made to or on behalf of Jeffry Homing
as a result of his alleged vaccine-related injury suffered on or about June 27, 2017, under Title
XIX of the Social Security Act, see 42 U.S.C. § 300aa-15(g), (h).
                                                 2
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       9. As soon as practicable after the entry ofjudgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-21 (a)(l), and an application, the parties will submit to further proceedings

before the Chief Special Master to award reasonable attorneys' fees and costs incurred in

proceeding upon this petition.

        10. Petitioner and his attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act (42 U .S.C.

§ 1396 et seq.)), or by entities that provide health services on a pre-paid basis.

        11. Payment made pursuant to paragraph 8 of this Stipulation and any amounts awarded

pursuant to paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-

15(i), subject to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, and past unreimbursed expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa-15(g)and(h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in his

individual capacity, and on behalf of his heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and



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the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-l 0 et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the Tdap vaccination administered on June 27, 2017, as

alleged by petitioner in a petition for vaccine compensation filed on or about February 20, 2020,

in the United States Court of Federal Claims as petition No. 20-173V.

        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.

        15. If the Chief Special Master fails to issue a decision in complete conformity with the

terms of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity

with a decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.



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       17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the Tdap vaccine caused petitioner to have a left

shoulder injury, brain fog, or any other injury or his current condition.

       18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION

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  Respectfully submitted,

  PETITIONER:




  ATTORNEY OF RECORD                          AUTHORIZED REPRESENTATIVE



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                                              OF THE ATTORNEY GENERAL:



     AHV.DU
                                              ' A L ~-
                                              HEATHER L. PEARLMAN
  Principal Attorney                          Deputy Director
  Law Offices of Leah V. Durant, PLLC         Torts Branch
  1717 K Street NW, Suite 900                 Civil Division
  Washington, DC 20006                        U.S.DepartmentofJustice
  Tel: (202) 775-9200                         P.O. Box 146
  Fax: (202) 652-1178                         Benjamin Franklin Station
  Email: ldurant@durantllc.com                Washington, DC 20044-0146


  AUTHORIZED REPRESENTATIVE                   ATTORNEY OF RECORD FOR
  OF THE SECRETARY OF HEALTH                  RESPONDENT:
  AND HUMAN SERVICES:


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  CDR GEORGE REED GRIMES, MD,           MPk
                                                  ~ , B M-2 C-Q,.---
                                              ALEXIS B. BABCOCK                 - - --
  Director, Division of Injury                Assistant Director
   Compensation Programs                      Torts Branch
  Health Systems Bureau                       Civil Division
  Health Resources and Services               U.S. Department of Justice
   Administration                             P.O. Box 146
  U.S. Department of Health                   Benjamin Franklin Station
   and Human Services                         Washington, DC 20044-0146
  5600 Fishers Lane, 08N146B                  Tel: (202) 616-7678
  Rockville, MD 20857                         Email: alexis.babcock@usdoj.gov



  Dated:     al
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